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                         EXHIBIT 9
Case 2:12-cv-03423-SJO-VBK Document 67-1 Filed 05/29/13 Page 2 of 9 Page ID #:757




                                 ,
                            11 ELLEN I. KAHN (State Bar No. 107127)
                               E - Mail:  eloihnEosideman.com_1300 Court/ uoorlor Court
                            2 ROBERT R. CROSS (State Bar No. 56814)
                                                                                              EJ L                         D
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                               One Embarcadero Center, Eighth Floor                                CLER      F
                            4 San Francisco, California 94111-3629                           BY:
                               Telephone:    (415) 392-1960                                                          Pub, Oferr       1313T—Cip
                            5 Facsimile:     (415) 392-0827                                                                                       <1
                                                                                                                                79,                    c)\
                            6        Attorneys for Petitioner
                                     AMELIA DAVIS, ADMINISTRATOR

                            81                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                   FOR THE COUNTY OF SAN FRANCISCO
                                                                                     PROBATE

     -J                II            Lri re the                                            CASE NO. PES- 0-293338
          cc
          g                                   ESTATE OF JAMES J MARSHALL /1[1tittkitiata)
     I         .-      12
     0    A                                                                 ORDER FOR FINAL DISTRIBUTION ON
          co           13                                                   WAIVER OF ACCOUNT AND
v,             °c".5                                                        ALLOWING COMPENSATION TO
   Z 61,13 14                                                              ATTORNEYS FOR ORDINARY AND
ttl u 5                                                                    EXTRAORDINARY SERVICES
0 to 2
lc    a, 8 15
   tt 2 u                                                                                  DATE:          May 2, 2012
                       •16
     z acl                                                                                 TIME:          9:00 a.m.
     a         E 17                                                                        PLACE:         Dep t 202 (Probate)
     UJ                18
     _                                       Amelia Davis, as Administrator of the Will of James J. Marshall ("Petitioner"), having
                       191
                                     filed her verified First and Final Report of Administrator With Will Annexed on Waiver of
                       20
                                     Account and Petition For Final Distribution and Request For Allowance Of Compensation To
                       21
                                     Attorneys For Ordinary and Extraordinary Services ("Petition"), and said Petition having come on
                       22
                                     regularly for hearing on May 2, 2012, at 9:00 a.m. in the Probate Department of the above-entitled
                       23
                                     Court, the Court finds:
                       24
                                             I.        Date of Death and Domicile. James 3. Marshal ("Decedent") died testate on March

                                     23, 2010,     a resident of San Francisco County.
                       26
                                             2..       Will   Admitted to Rrobatei Letters IssueLResignation of Andreas and Appointment
                       27
                                     of Successor Administrator. Decedent's will dated March 20, 2007 was admitted to probate by
                       28
                                                                                    .   1                            PES-10-293338
                                      ORDER FOR FINAL DISTRIBUTION          CYN'WAIVER OF ACCOUNT AND ALLOWING COMPENSATION TO
                                                                                    ATTORNEYS




                                                                                                                                  MARSHALL 00054
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        It Order of this Court filed May 5, 2010. Letters of Special Administration and Letters Testamentary
                                                                         3,
        2        were issued to Arthur Andreas ("Andreas") on April 25, 2019 and May 5, 2010, respectively.

        3       Andreas' resignation and the appointment of Petitioner as successor Administrator was approved

                by this Court's Order for Probate filed September 22, 2010 and Letters of Administration With

        51 Will Annexed were issued to Petitioner that date. At all times since then, Petitioner has been and

        6       is now the duly qualified personal representative of the Estate with Ml authority to administer the

        7       Estate.

        8                 3.    Bond This Court's Order for Probate filed September 22, 2010, provided that no
            I



        9       bond was required.

                          4.    Separate Property. .Decedent was never married and all Decedent's property was

                his separate property.

                          5 Authothy Granted Under IndependentAdministrati on of Estates Act. On September

                22,2010, Petitioner was granted full authority by Order of this Court to administer the Estate without

                court supervision under the Independent Administration of Estates Act This authority has not been

                revoked.

                          6.    Notice of Petition to Administer Estate. The Petition to administer the Estate was

                published for the period and in the manner prescribed bylaw, the first publication having been made

                on March 30, 2010.

                          7.    Notice to Creditors. On Petitioner's information and belief, Andreas Made all

   20           reasonable efforts to ascertain creditors of Decedent and sent notice of administration to all known

   21           and reasonably ascertainable creditors as described in California Probate Code Section 9050.

                More than four months have e!apsed since the date letters first issued. The deadline for filing or

   23           presenting creditors' claims expired on September 5, 2019. The only claims in response to the

   24           notices were filed by Groovy Collectibles L,LC (me paragraph 11 belov4).

   25                     8.    Reauest for Special Notice. The only request for special notice was filed by Groovy

   26           Collectibles LLC, which has executed a Withdrawal of Request for Special Ntike..and Waiver of
                                                                                         WIT Or
   27           Notice of the Petition.

   28
                                                                                                   Jrot
                                                                  2                                             -293338
                 ORDER FOR F-NAI, DISTRIBUTION ON WAIVER OF ACCOUNT AND AL7,,TW fvf..“:71743,
                                                   ATTORNEYS




                                                                                                           MARSHALL 00055
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                I II           9.      Notice to Public Entities Not Required. Other than taxes otherwise addressed in this

            2 petition, Petitioner has no reason to believe any public entities have any basis for making a claim

            3          against this Estate.

             4                 10.     Notices Required Under Probate Code Section 9202.

                5                      a.     Notice to Director of Health Care Services Not Rectified Notice to the

            6          Director of Health Care Services under Probate Code §9202(a) is not required because Petitioner

            7          has no reason to believe that Decedent received, or was the surviving spouse or registered

            8          domestic partner of a person who received, any lvfedi-Cal benefits. Nevertheless, Andreas served

            9          a Notice of Administration to Creditors on the California Department of Health Care Services on

           10          June 15, 2010 and the Proof of Service is on file herein. The time for filing or presenting a claim
  a
           11          has expired
    r:
  i 0 -
  I-0      12                          b.     Notice to Director of California Victim Compensation and Government
  01 c'
  m :1 13 : Claims Board Not Required. Notice to the Director of the California Victim Compensation and

'61 Z6 '-=., 14 I Government Claims Board under Probate Code §9202(b) is not required because Petitioner has              no


  CO z c  5 15 1 reason to believe an heir of Decedent was confined in a prison or facility under the jurisdiction of
     6J 0
5 M a to           .•
     re z5 16 I the Departmem of Corrections and Rehabilitation or was confined in any county or city jail, road
     u
  z et a         I
  <T
  r  ai sz-c 17 i camp, industrial farm or other local correctional facility.
  2 4,
     1(0
        4        c
  '°         18 1                c.     Notice to Franchise Tax Board. The Notice of Administration to Creditors
  0
  -_
  In         19 ' was served on filed the Franchise Tax Board on June 15, 2010 as required by Probate Code

           20          Section 9202(0(l ) in the manner required under Probate Code Section 1215, and the Proof of

           21          Service is on file herein. The time for filing or presenting a claim has expired.

           27                  11.    Creditor's Claims. Three   related   Creditor's Claims were filed by Groovy

  /23                  Collectibles LW (Groovy"), as follows, were rejected, and have been litigated and settled fseeC)

           24 isafegratsis-1-24sele4

           25 6/14/2010 Breach of 2009 Professional Service Agreement                                               S190,000

           26 I 11Q3/2010 Breach of 2010 Professional Service Agreeme                                               515,000

           27 11/23/2010 Breach of oral web maintenance agreement                                                     $5,680

           28
                                                                3                            PES-10-29333
                        ORDER FOR FINAL DISTRIBUTION ON WAIVER OF ACCOUNT AND ALLOWING COMPENSATION TO
                                                           ATTORNEYS




                                                                                                                MARSHALL 00056
Case 2:12-cv-03423-SJO-VBK Document 67-1 Filed 05/29/13 Page 5 of 9 Page ID #:760




                         12        Litigadon on Behalf and Against of the Estate.

          2                        a.      Petitioner filed two Verified Petitions and an Amended ye

           3            flan Groovy, Nick Despotdpoulos and Kirk A.nspach ('Respondents'), seeking temporary

          4     :estraining orders (“TROs") and injunctions against wrongful retention and use of property of the

          5     Estate, including photographic prints, other tangible personal property, an email contact list,

          6     copyrighted images and other proprietary information. The Probate Court issued two TROs

          7     against Respondents, and issued a preliminary injunction against Respondents on December 21,

          8     2010.

          9                        b.      Following rejection of its Creditor's Claims, Groovy filed a civil action

      1   0 against Petitioner to prosecute the Creditors' Claims, Case No.          CGC-10-506881 (the "Groovy

      1    1    Action"). In response, Petitioner filed a cross-complaint against Respondents/Cross-Defendants

      12 I Groovy, DespotOpoulos and Anspach, seeking injunctive relief and damages on most of the same

      13 I gounds previously alleged in Petitioner's petition's in this proceeding. The Probate Court also

      14 I referred Petitioner's Amended Petition to be tried in connection with the Groovy Action.

      15                                   Petitioner and Respondents reached a global settlement of all claims in the

      16 j Probate case and the Groovy Action, pursuant to a written Settlement Agreement and Mutual

      17 Releases dated December 9, 2011. The settlement amount provided in the Settlement Agreement

      18 has been paid in full, and the parties have filed a Request for Dismissal with prejudice of the

trt   19        Groovy Action, including Petitioner's Cross-Complaint and Amended Petition against the

      20        Respondents

      21                 1 3.     Taxes.
      77)                         a.    . Estate Taxes. As Decedent died in 2010, and the value of the Estate is

      23       below the $5 million filing threshold, no federal Estate tax return is required and no federal Estate

      24        taxes are due.

      25                          5.       Ingospe Tmes.. Petitioner is informed and believes that Andreas paid all

                California and federal income taxes due and payable by Decedent. Petitioner has timely filed all

      27       i necessary    California and federal fiduciary income tax returns required   of the Estate   and has paid

      28       any income taxes shown to be due on those returns. Petitioner has agreed to file any further
                                                          4                            ?ES-1O-293338
                — ORDER FOR PENAL DISTRIBUTION ON WAIVER OF ACCOUNT AND ALLOWING COMPENSATION  TO
                                                     ATTORNEYS




                                                                                                                MARSHALL 00057
    Case 2:12-cv-03423-SJO-VBK Document 67-1 Filed 05/29/13 Page 6 of 9 Page ID #:761




               Cab fornia and federal fiduciary income tax returns that may be required of the Estate and to pay

           2   any taxes shown to be due on those returns, from her personal assets.

          3                    c.      Personal Property Taxes. No personal property taxes are due or payable by

          4    the Estate.

           5                   d.      Certificate of California Franchise Tax Board. A certificate of the

          6    California Franchise Tax Board under Revenue and Tax Code §19513 is not required because

          7    there are no nonresident beneficiaries of the Estate.

          8            14.     Waiver of Account. Petitioner, as sole beneficiary, has waived the necessity of an

          9    account.

         10            15.     Inventory and Appraisal. A partial inventory and appraisal of the Estate, filed

         11  September 9, 2010, shared inventoried assets of $794379.84. The final inventory and appraisal of
            \j-9 (2,...dQ,.
         12 the Estat        -.state assets with a value of $3,434,000.00. Such inventories totaling84,229,779.84
                            Estate

         13    contain all of the assets of the Estate that have come to Petitioner's knowledge or into her possession.

         14            16.    Purchase, Exchange or Change in the Form of Assets. No assets were purchased,

         15    exchanged, or changed ir. form during administration of the Estate, except as follows;

         16                   a.       Distribution of two municipal bonds bonds 4.ses-pacagfetali-I-8-belear9-)

         17                   b.      Cashed 200,000 units of San Juan California Unified School Dist. RFDG

         18    municipal bond ($215,477.78).

         19            17.    Independent Actions. Petitioner took the following actions without court

         70    supervision: None.

         21           18.     Advanced Dis tributions. Pursuant to this Court's Order Authorizing Preliminary

        22     Distribution and Sale of Personal Property entered October 18, 2010 ("Distribution & Sale Order").

         23 Petitioner distributed to herself, as sole beneficiary of the Estate, the following bonds:

        24                    a.      California State R17DG municipal bonds (100,000 units); and

        25                    b.      Beverly Hills Calif municipal bonds (100,000 units).

        26     Pursuant to this Court's Order entered December 23, 2011, modifying the Distribution & Sale

        27     Order, Petitioner has made a payment in settlement of the Groovy Action
                                                                                           /4‘
        28          ). No other distributions have been made.
r
                ORDER FOR FINAL DISTRIBUTION ON WAIVER OF ACCOUNT AND AL
                                                   ATTORNEYS




                                                                                                           MARSHALL 00058
      Case 2:12-cv-03423-SJO-VBK Document 67-1 Filed 05/29/13 Page 7 of 9 Page ID #:762




                                  -10.    Assets on Hand The assets on hand in the Estate are as follows:

                                 Checking Account, First Republic Hank (No. ********836)                       5115,810.41

                                 Money Market Account, First Republic Hank (No.********807                       111,400.00

                                 Cash & Money Fund -- First Republic Brokerage (No. ******807)                    $1,700.00

                                 San Juan California Unified School Dist. UDC municipal bonds                    $91,242.00
                                 (85,000 units)
                                                                                                         t3/13c Cea,
                                 Photographic archive (including negatives and prints)                     Soo Invontory
                                                                                                            tg- A gin aLlth

                                 2008 Mercedes
                   9
                                Furniture, fixtures & miscellaneous personal property per Partial
                10              Inventory & Appraisal No. 1 (including watch, bracelet, necklace &
                                pendant, pistols, knives, book collection, CDs, LPs & audio-visual
                                equipment)


                                 20.     Reserve for Closing Expenses. Petitioner does not request a reserve for closing

                         expenses

                                 21.     Representative's Compensation Waived. Petitioner has waived all rights to statutory

                         compensation as Administrator.

               17                22.     Estate in-Condition lobe Closed; Estate Solvent. More than four months have elapsed

               18        since the issuance of letters. Notice of administration has been given to creditors as required by law.

               19 ' The time for filing and serving creditor s claims has expired. The only filed creditors' claims have
              20 been settled (a, peiesiapli 12.e3. Petitioner has performed all required duties as executor of -

                         Decedent's Estate. The Estate is solvent. All costs of administration incurred to date have been paid

              212 or provided for. The Estate is in a condition to be closed.

              23                 23.     Pro p osed Distribution. Pursuant to the terms of Decedent's Will, at Article FIFTH

              24 (page 2), set out below, naming Petitioner as thesolebeneficiary of the Estate, Petitioner is entitled to

                         distribute all assets of the.Esiate to herself; including any other property of Decedent or of the Estate

                         not now known or discovered:

               At's% i          FIFTH: I give, devise and bequeath my entire Estate to Amelia Davis, who has not
                                only been a devoted, able assistant and invaluable associate to me in the conduct of
         -C
        if   °ft'
           A \WP
                                my business, but a truly caring friend.
          daPAI
                                                             6                            PESO-293338 I
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o                    RDER FOR IMN:AL DISTRIBUTION ON WAIVER or ACCOUNT AND ALLOWING COMPENSATION TO
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24.                            Statutory Compensation of Former Executor and Counsel: The Settlement

                Agreement between the former Executor (Andreas) and Petitioner, approved by the Court by

           3    Order dated September 22, 2010, at IN 2 & 4, authorized payment of compensation in the sum of

           4    $86,400 to each of Andreas and his couhsel, Geoffrey Adams, of which $21,600 was for ordinary

           5   services and the balance ($64,800) was for extraordinary services.

       6               95.     Compensation of Petitioner' Counsel. No compensation has been paid to the

       7       attorneys for services to Petitioner in her capacity as Administrator. The law firm of Sideman &

       8       Barret-oft LLP ('Sideman") represented Petitioner individually prior to her appointment as

       9       Administrator (lot which it has received compensation) and has continued to represent Petitioner

      10       as Administrator since her appointment.. The statutory attorneys' compensation to which Sideman

      11       is entitled for its ordinary services is $33,698.00, computed as shown below on the basis of the

      I2       inventory value, without regard to receipts, gains or losses, as permitted by California Rules of

      13       Court 7.550(b)(6) and 7,705(b)

      14                                                   FEE BASE

      15       Partial Inventory and Appraisal, No. I:                                                  $794,779.84

      16       Final Inventory and Appraisal:                                                         $3,435,000.00

      17                                                                                   Fee Base: $4,229,779.84

      18                                             FEE COMPUTATION

      19       4% of first $100,000:                                                                     $ 4,000.30

      20       3% of next $100,000:                                                                        3,000 00

      21       2% of next $800,000:                                                                       16,000 00

               1% of next $3,229,780                                                                      32,298.00

      23       Total Statutory Fee                                                                       $55,298.00

      24       Less Statutory Fee Paid to Executor's Counsel                                            -$21,60011Q

      25       Remaining Balance                                                                         $33,698.00

      26

      27              26.     Extraordinary Services b y Artome_is. Sideman rendered extraordinary services to

      28       the Estate, which are described in the Declaration of Robert R. Cross in Support of Extraordinary
                                                         7                             PES-10-293333
                 ORDER FOR FINAL DISTRIBUTION ON WAIVER OF ACCOUNT AND ALLOWING' COMPENSATION TO
                                                    ATTORNEYS




                                                                                                        MARSHALL 00060
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           1   Attorneys' Fees, attached as Exhibit A to the Petition. The extraordinary compensation requested

        2      in the Petition, in the sum of $125,143, is reasonable and appropriate for these services, and

        3      should be paid.
        4                27.          • eimbursement of Attorney's Costs of Administration Advanced. Petitioner

        5      requested that she be allowed to reimburse Sideman for costs of administration advanced on behalf

        6 of the Estate. Said costs total $9,461.30, including $3,823.60 for court filings, delivery and
        7      service of papers, $1,544.25 for deposition transcripts, $1,176.00 for litigation consultants,

               $850.00 for filing fees, $1,008.95 for document reproduction, $816.55 for online research, and

       9       $189.20 for parking and taxi. Such costs are appropriate and should be paid.

       10                WHEREFORE, IT IS HEREBY ORDERED that:

                         A.           The administration of this Estate be dosed on waiver of account;

                         B.           All the acts and proceedings of Petitioner as Administrator are confirmed and

                         approved;•
                         C.           Petitioner is authorized and directed to pay Sideman & Bancroft LLP $33,698.00 as
               statutory compensation for services to the Petitioner and the Estate;

                         D.           Petitioner is authorized and directed to pay Sideman & Bancroft LLP $125,143.00

               as extraordinary compensation for services to the Petitioner and the Estate;

                         E.          Petitioner is authorized and directed to reimburse Sideman & Bancroft LLP

      19       $9,461.30, for costs advanced on behalf of the Estate; and
                   de sof         a. . 4,4-44-CA- -ca                           CA.

                      F.      Distribution of the Estate in Petitioner's handstand any other property of Decedent or
      21       of the Estate not now known or discovered shall be made
                                                                                     orter
                                                                                     rir
                                                                                             7)as eneficiary.
      22

               DATED: May.)', 2012
                                                               Judg
      24           .
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                 ORDER FOR FINAL DISTRIBUTION ON WAIVER OF ACCOUNT AND ALLOWING COMPENSATION 70
                                                    ATTORNEYS




                                                                                                         MARSHALL 00061
